        Case 3:23-cv-00089-CDL Document 11 Filed 09/26/23 Page 1 of 6




                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF GEORGIA
                          ATHENS DIVISION

DYLAN ADCOCK,                           )
                                        )
             Plaintiff,                 )
                                        )
v.                                      )
                                        )
                                               Case No. 3:23-cv-00089-CDL
WARD HOME SERVICES d/b/a                )
ACT HANDYMAN SERVICES                   )
EAST METRO ATLANTA (543)                )
And WILLIAM WARD,                       )
                                        )
             Defendants.


     DEFENDANTS’ UNOPPOSED MOTION TO SET ASIDE PLAINTIFF’S
         MOTION FOR DEFAULT AND FOR EXTENSION OF TIME
                   TO ANSWER THE COMPLAINT

       Defendants, Ward Home Services and William Ward, by and through

undersigned counsel, moves the Court to set aside Plaintiff’s Motion for Default

filed on September 13, 2023, and for an extension of time, through and including

October 20, 2023, for Defendants to file their answer to the Complaint. In support

of this Motion, Defendants state as follows:

       1.    On August 10, 2023, Plaintiff filed a Complaint (the “lawsuit”)

against Defendants, alleging violations of the Fair Labor Standards Act of 1938

(“FLSA”), 29 U.S.C. §§ 201 et seq.

       2.    The Summons and Complaint were served upon William Ward on
                                        1
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       Case 3:23-cv-00089-CDL Document 11 Filed 09/26/23 Page 2 of 6




August 15, 2023. [See D.E. 5.]

      3.     Therefore, Defendants had until September 5, 2023, to respond to the

Complaint.

      4.     Defendants, however, failed to properly calendar the deadline or

retain counsel and the deadline passed without Defendants retaining counsel or

filing a response.

      5.     Plaintiff moved for a default on September 13, 2023.

      6.     On September 18, 2023, Defendants retained undersigned counsel.

      7.     On September 20, 2023, counsel for the Parties conferred regarding

pending default and Defendants’ intent to file the instant motion.

      8.     Plaintiff does not oppose the relief requested herein.

      9.     Considering the above, Defendants ask the Court to set aside the

Motion for Default and request an extension of time until October 20, 2023, to

answer the Complaint.

      10.    The undersigned has conferred with Plaintiff’s counsel, who

indicated that Plaintiff does not oppose any of the relief requested in this motion.

      11.    The Eleventh Circuit has a strong policy of determining cases on

their merits and, therefore, does not favor default judgments. See, e.g., Fla.

Physician’s Ins. Co. v. Ehlers, 8 F.3d 780, 783 (11th Cir. 1993). Pursuant to Federal

Rule of Civil Procedure 55(a), when “a party against whom a judgment for
                                         2
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       Case 3:23-cv-00089-CDL Document 11 Filed 09/26/23 Page 3 of 6




affirmative relief is sought has failed to plead or otherwise defend, and that

failure is shown by affidavit or otherwise, the clerk must enter the party’s

default.” A Court may, however, “set aside an entry of default for good cause.”

Fed. R. Civ. P. 55(c). Courts construe the “good cause” standard liberally on a

case-by-case basis. Compania Interamericana Export-Import, S.A. v. Compania

Domincana de Aviacion, 88 F.3d 948, 951 (11th Cir. 1996).

      12.    Moreover, “Rule 6(b) of the Federal Rules of Civil Procedure provides

in pertinent part, ‘[w]hen an act may or must be done within a specified time, the

court may, for good cause, extend the time: ... on motion made after the time has

expired if the party failed to act because of excusable neglect.’” Fed. R. Civ. P.

6(b)(1)(B); Satco Prods., Inc. v. Seoul Semiconductor Co., 551 F.Supp.3d 1329,

1331 (N.D. Ga. 2021).

      13.    “Inadvertence, ignorance of the rules, or mistakes construing the rules

do not usually constitute excusable neglect, however, excusable neglect is an elastic

concept and is not limited strictly to omissions caused by circumstances beyond the

control of the movant.” Gaffney v. Warden, Taylor Corr. Inst., No. 20-13572 (11th

Cir. Jan. 3, 2022) (unpublished), citing Pioneer Inv. Servs. v. Brunswick Assocs.

Ltd. P'ship, 507 U.S. 380, 391 (1993); Satco Prods, Inc. 551 F. Supp. at 1333

(granting motion for leave to file an out of time answer).

      14.    Here, Defendants inadvertently failed to properly calendar the
                                         3
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          Case 3:23-cv-00089-CDL Document 11 Filed 09/26/23 Page 4 of 6




deadline for the answer and failed to engage counsel promptly. After discovering

their errors, Defendants have acted promptly to engage counsel and to respond

to the Complaint.

         15.   Defendants’ motion is made in good faith and not for purposes of

delay.



                                  CONCLUSION

         For the foregoing, Defendants request this Court set aside the Motion for

Default and allow the case to be determined on the merits.               Defendants

respectfully request that the Court enter an Order: (1) granting this Motion; (2)

setting aside the Plaintiff’s Motion for Default entered against Defendants; (3)

granting Defendants an extension of time to answer the Complaint; and (4)

granting such other and further relief as this Court deems just and proper.

     Dated this 26th day of September, 2023.

                                               Respectfully submitted,

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                                             By: /s/ Ian E. Smith
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                                         4
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Case 3:23-cv-00089-CDL Document 11 Filed 09/26/23 Page 5 of 6




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                              5
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        Case 3:23-cv-00089-CDL Document 11 Filed 09/26/23 Page 6 of 6




                            CERTIFICATE OF SERVICE

      I hereby certify that on this 26th day of September, 2023, I electronically filed

the foregoing with the Clerk of Court using the CM/ECF system, which will send

a notice of electronic filing to all counsel of record.

                                                      /s/Ian Smith
                                                      Attorney




                                            6
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